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AFFIRMATION OF SERVICE

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

Index Number: 1:24-CV-05768-JHR Date Filed: 7/31/2024

Plaintiff:
Michael Saunders, on behalf of himself and all others similarly
situated

VS.

Defendant:
Klub Canivibe LLC

State of New York, County of Albany)ss.:
Received by Meridian Investigations & Security to be served on Klub Canivibe LLC.
|, Patricia Burke, do hereby affirm that on the 3rd day of September, 2024 at 3:15 pm, |:

served the within named Limited Liability Company, Klub Canivibe LLC by delivering two true copies of
the Summons in a Civil Action, Class Action Complaint and Demand for Jury Trial, Exhibit 1
(Notice to the NYS Civil Rights Bureau Regarding Filing of the Present Lawsuit) Exhibits A-D and
Civil Cover Sheet pursuant to New York State Section 303 LLCL together with statutory service fee
in the amount of $40.00 to Sue Zouky as Business Document Specialist 2 of New York State
Department of State, 99 Washington Avenue, 6th Floor, Albany, NY 12210. The New York State
Department of state being the Registered Agent/Statutory Agent of record of the within named limited
liability company, in compliance with state statutes.

Description of Person Served: Age: 70, Sex: F, Race/Skin Color: White, Height: 5'4", Weight: 150, Hair:
Brown, Glasses: N

| certify that | am over the age of 18, have no interest in the above action.
| affirm on 4 yd , under the penalties of perjury under the laws of New York, which may

include a fine or imprisonment, that the foregoing is true, and | understand that this document may be filed
in an action or proceeding in a court of law.

Meridian Investigations & Security
48 Davis Avenue
Port Washington, NY 11050

Our Job Serial Number: SRN-2024004682

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